Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 1 of 31 PageID #: 13




    REMOVAL TO FEDERAL COURT

                         STATE COURT RECORD

                                     STATE OF INDIANA

                                   Bartholomew Circuit Court

                                    03C01-1904-CT-002268

                                     LENDON THOMAS

                                              v.

                                  MARY L. SANDERSON and
                              WILEY SANDERS TRUCK LINES, INC.




 {0020323/0001/01960576 v1}
6/27/2019 Case                                    Summary
                 1:19-cv-02648-JPH-DML Document 3-1  Filed- MyCase
                                                             06/28/19 Page 2 of 31 PageID #: 14
               This is not the official court record. Official records of court proceedings may only be obtained directly
               from the court maintaining a particular record.


   Lendon Thomas v. Mary L. Sanderson, Wiley Sanders Truck Lines, Inc.
    Case Number                               03C01-1904-CT-002268

    Court                                     Bartholomew Circuit Court

    Type                                      CT - Civil Tort

    Filed                                     04/22/2019

    Status                                    04/22/2019 , Pending (active)


   Parties to the Case
   Defendant Sanderson, Mary L.
      Address
      1385 Finnis Murphree Road
      Blountsville, IN 35031

   Defendant Wiley Sanders Truck Lines, Inc.
      Address
      3105 Pebble Hill Court
      Sellersburg, IN 47172
      Attorney
      Robert R. Foos
      #2088545, Retained

      LEWIS & WAGNER, LLP
      501 Indiana Avenue
      Suite 200
      Indianapolis, IN 46202
      317-237-0500(W)

   Plainti       Thomas, Lendon
      Attorney
      Scott Andrew Weathers
      #1135549, Lead, Retained

      Isaacs & Isaacs
      1601 Business Center Ct
      Lousivlle, KY 40299
      502-458-1000(W)

      Attorney
      Caroline Bonnie Clay
      #3500222, Retained

      isaacs & isaacs PSC
      1601 Business Center Court
      Louisville, KY 40299
      502-458-1000(W)


   Chronological Case Summary

https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6IlpUQXhNekV5T1RFM01qWXdPakUzTVRRek5UVXpNek09In19   1/4
6/27/2019 Case                                    Summary
                 1:19-cv-02648-JPH-DML Document 3-1  Filed- MyCase
                                                             06/28/19 Page 3 of 31 PageID #: 15
    04/22/2019 Case Opened as a New Filing


    04/22/2019       Complaint/Equivalent Pleading Filed
                 Complaint

                 Filed By:                      Thomas, Lendon
                 File Stamp:                    04/22/2019

    04/22/2019       Appearance Filed
                 Appearance - Clay

                 For Party:                     Thomas, Lendon
                 File Stamp:                    04/22/2019

    04/22/2019       Appearance Filed
                 Appearance - Weathers

                 For Party:                     Thomas, Lendon
                 File Stamp:                    04/22/2019

    04/22/2019       Subpoena/Summons Issued
                 Summons - Sanderson

                 Party:                         Thomas, Lendon
                 File Stamp:                    04/22/2019

    04/22/2019       Subpoena/Summons Issued
                 Summons - Wiley Sanders

                 Party:                         Thomas, Lendon
                 File Stamp:                    04/22/2019

    05/13/2019       Subpoena/Summons Filed
                 Summons - Wiley Sanders Truck Lines, Inc.

                 Filed By:                      Thomas, Lendon
                 File Stamp:                    05/10/2019

    05/23/2019       Appearance Filed
                 Appearance for Robert R. Foos, Jr. for Wiley Sanders Truck Lines

                 For Party:                     Wiley Sanders Truck Lines, Inc.
                 File Stamp:                    05/23/2019

    05/23/2019       Motion for Enlargement of Time Filed
                 Motion for Enlargement of Time to File Responsive Pleading

                 Filed By:                      Wiley Sanders Truck Lines, Inc.
                 File Stamp:                    05/23/2019

    05/23/2019       Jury Trial Demand Filed
                 Jury Demand

                 Filed By:                      Wiley Sanders Truck Lines, Inc.
                 File Stamp:                    05/23/2019

    05/24/2019       Order Granting Motion for Enlargement of Time
                 to and including 7/8/19

                 Judicial O cer:                Benjamin, Kelly S
                 Order Signed:                  05/23/2019



https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6IlpUQXhNekV5T1RFM01qWXdPakUzTVRRek5UVXpNek09In19   2/4
6/27/2019 Case                                      Summary
                   1:19-cv-02648-JPH-DML Document 3-1  Filed- MyCase
                                                               06/28/19 Page 4 of 31 PageID #: 16
    05/25/2019 Automated Paper Notice Issued to Parties
                   Order Granting Motion for Enlargement of Time ---- 5/24/2019 : Mary L. Sanderson


    05/25/2019 Automated ENotice Issued to Parties
                   Order Granting Motion for Enlargement of Time ---- 5/24/2019 : Caroline Bonnie Clay;Robert R. Foos;Scott Andrew
                   Weathers


    05/29/2019         Appearance Filed
                   Amended Appearance - Lendon Thomas

                   For Party:                      Thomas, Lendon
                   File Stamp:                     05/26/2019

    05/29/2019         Appearance Filed
                   Amended Appearance led

                   For Party:                      Thomas, Lendon
                   File Stamp:                     05/28/2019


   Financial Information
   * Financial Balances re ected are current representations of transactions processed by the Clerk’s O ce. Please note that any
     balance due does not re ect interest that has accrued – if applicable – since the last payment. For questions/concerns regarding
     balances shown, please contact the Clerk’s O ce.

   Thomas, Lendon
   Plainti

   Balance Due (as of 06/27/2019)
   0.00

   Charge Summary
    Description                                                              Amount              Credit             Payment
    Court Costs and Filing Fees                                              157.00              0.00               157.00

   Transaction Summary
    Date                  Description                                        Amount
    04/22/2019            Transaction Assessment                             157.00
    04/22/2019            Electronic Payment                                 (157.00)



                  This is not the official court record. Official records of court proceedings may only be obtained directly
                  from the court maintaining a particular record.




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6IlpUQXhNekV5T1RFM01qWXdPakUzTVRRek5UVXpNek09In19           3/4
                                                                           Filed: 4/22/2019 1:25 PM
                            03C01 -1 904-CT-002268
Case 1:19-cv-02648-JPH-DML Document   3-1 Filed 06/28/19 Page 5 of 31 PageID  #: 17            Clerk
                                                 Bartholomew   Circuit Court                                 Bartholomew County, Indiana




                IN   THE                           COURT FOR BARTHOLOMEW COUNTY
                                                STATE OF INDIANA


 LENDON THOMAS                                            )

                                                          )

                     Plaintiff,                           )

                                                          )                        03001 -1 904-CT-002268
         V.                                               )    CAUSE NO:
                                                          )                        *ELECTRONICALLY FILED*
 MARY L. SANDERSON                                        )
 1385 Finnis Murphree Road                                )

 Blountsville,   AL     35031                             )




 -and-                                                                         )

                                                                               )

 WILEY SANDERS TRUCK LINES,                      INC.                          )
 3 105 Pebble Hill      Court                                                  )

 Sellersburg,   IN 47 1 72                                                     )



 Wilt:                       Highest Ofﬁcer Found
                             Wiley Sanders Truck Line Lines,            Inc.)
                                                                               )

                                                                               )



                             3 105 Pebble Hill     Court                       )

                             Sellersburg,     IN 47 1 72                       )

         Defendants..                                                          )




                            COMPLAINT AND DEMAND FOR JURY TRIAL

         Comes now the          Plaintiff,   Lendon Thomas, by and through Counsel, and            for his   Complaint

 and causes of action against Defendants, hereby               states as follows:


         1.          Plaintiff Lendon    Thomas    is,   and was   at all   times relevant herein, a resident 0f 1288


 St Rt 8185, EddyVille,       KY    42038.


         2.          Upon information and belief, Defendant Mary L. Sanderson is, and was                    at all   times


 relevant herein, a resident of the 1385 Finnis            Murphree Road, Blountsville,       AL   3503 1.
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 6 of 31 PageID #: 18



        3.        Upon    information and belief, Defendant Wiley Sanders Truck Lines, Inc.                              is   a


 domestic corporation lawfully conducting business in the                   state   of Indiana With a   home ofﬁce

 address of 100 Sanders Road, Troy,          AL    36079.


        4.        The   incident giving rise t0 this action occurred in         Bartholomew County, Indiana.

        5.        That 0n or about the 22nd day of August, 2018, Plaintiff Lendon Thomas was


 operating a vehicle With    all   due care 0n a public highway, being         Interstate   65 North, Bartholomew


 County, Indiana.


        6.        That 0n that date and       at the     place set forth above, Defendant      Mary    L. Sanderson,


 was operating a 2018 Kenworth Semi            Trailer in such a negligent      manner so    as t0 cause   it   t0 collide


 with the motor vehicle driven by           Plaintiff,   Lendon Thomas, thereby causing            Plaintiff to suffer


 serious bodily injuries.


        7.        That said vehicle being operated by Defendant               Mary     L. Sanderson   was owned by

 Defendant Wiley Sanders Truck Lines,             Inc.




                             CLAIMS AGAINST MARY L. SANDERSON
                                    COUNT I: NEGLIGENCE
         8.       Plaintiff adopts    and   reiterates    each and every allegation      set out   above as     if set   out


 fully herein   and incorporates the same by reference.

        9.        That as a direct and proximate result of the negligence 0f Defendant Mary L.


 Sanderson in operating the vehicle,        Plaintiff,    Lendon Thomas, has        suffered serious bodily injuries,


 pain, suffering, mental anguish         and will continue      t0 suffer   such pain, suffering, mental anguish


 and inconvenience      in the future.


         10.      That as a direct and proximate result of the negligence of Defendant Mary L.


 Sanderson, Plaintiff, Lendon Thomas, has incurred lost wages and a permanent impairment of his
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 7 of 31 PageID #: 19



 ability to labor   and earn money.




                                     COUNT II: RESPONDEAT SUPERIOR
         11.        Plaintiff adopts        and   reiterates   each and every allegation   set out   above as   if set   out


 ﬁllly herein   and incorporates the same by reference.

         12.        At     the time of this incident complained of herein,             Mary   L. Sanderson,      was an

 employee, agent, servant, and/or representative of Defendant, Wiley Sanders Truck Lines,                            Inc.,



 and 0n the date and time 0f the incident complained of herein, Defendant, Mary L. Sanderson, was

 acting Within the scope and course of her                 employment or agency and/or         as a representative of


 Defendant, Wiley Sanders Truck Lines, Inc.


         13.        Based upon the employee-employer, master-servant, agency, and/or representative

 relationship   Which existed between Defendant, Mary L. Sanderson, and Defendant, Wiley Sanders

 Truck Lines,    Inc., at the       time 0f the incident complained 0f herein, Defendant, Wiley Sanders


 Truck Lines,       Inc.    is   jointly   and severally       liable for the negligence    of Defendant, Mary L.


 Sanderson.


         WHEREFORE, Plaintiff Lendon Thomas demands judgment against Defendants as

 follows:


         1.         Judgment        for   compensatory damages in an amount          t0 include:


                    a.     Past and future medical expenses;


                    b.     Past and future physical and mental pain, suffering, anguish and


                           inconvenience;


                    c.     Lost wages; and


                    d.     Diminished capacity         t0 labor   and earn income.
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 8 of 31 PageID #: 20



            2.    Interest   on any amount    to   which       Plaintiff may   be adjudicated   to   be entitled to


 accrue from the date of the ﬁling 0f this action until paid;


            3.    Costs herein expended; and


            4.    Any and all    other appropriate relief to which Plaintiff may appear to be justly


 entitled.




                                                         Respectfully Submitted,


                                                         ISAACS      & ISAACS, P.S.C.

                                                     :   /s/   Scott Weathers
                                                         Scott A. Weathers, #1 1355-49
                                                         Attorney for    Plaintiff,   Lendon Thomas

                                                   By:   /s/   Caroline B. ClaV
                                                         Caroline B. Clay
                                                         Attorney for    Plaintiff,   Lendon Thomas

                                                         Isaacs    & Isaacs, P.S.C.
                                                         1601 Business Center Court
                                                         Louisville,   KY 40299
                                                         Telephone: (502) 458—1000
                                                         Facsimile: (502) 454-55 12
                                                         Email: Scott.Weathers@isaacsandisaacs.com
                                                         Email: Clarence@isaacsandisaacs.com




                                      DEMAND FOR JURY TRIAL
            Comes now the    Plaintiff,   Lendon Thomas, and demands a             trial   by jury on   all   issues s0
 triable.



                                                         /s/   Scott Weathers
                                                         Scott A. Weathers, #1 1355-49
                                                                           Filed: 4/22/2019
                            03C01 -1 904-CT-002268
Case 1:19-cv-02648-JPH-DML Document   3-1 Filed 06/28/19 Page 9 of 31 PageID  #: 21         1:23”:
                                                                                                                            el'

                                               Bartholomew   Circuit Court                          Bartholomew County, Indiana




                IN   THE                           COURT FOR BARTHOLOMEW COUNTY
                                              STATE OF INDIANA


 LENDON THOMAS                                          )

                                                        )

                     Plaintiff,                         )

                                                        )                         03001 -1 904-CT-002268
         V.                                             )    CAUSE NO:
                                                        )                        *ELECTRONICALLY FILED*
 MARY L. SANDERSON                                      )
 1385 Finnis Murphree Road                              )

 Blountsville,   AL     35031                           )




 -and-                                                                       )

                                                                             )

 WILEY SANDERS TRUCK LINES,                    INC.                          )
 3 105 Pebble Hill      Court                                                )

 Sellersburg,   IN 47 1 72                                                   )



 Wilt:                       Highest Ofﬁcer Found
                             Wiley Sanders Truck Line Lines,          Inc.)
                                                                             )

                                                                             )



                             3 105 Pebble Hill     Court                     )

                             Sellersburg,   IN 47 1 72                       )

         Defendants..                                                        )




                            APPEARANCE BY ATTORNEY IN CIVIL CASE

 1.   Initiating Party: Edsel Ballard       and   Dawn Ballard

 2.   Attorney Information:
                                      Caroline B. Clay, # 35002-22
                                      Isaacs      & Isaacs, P.S.C.
                                      1601 Business Center Court
                                      Louisville,     Kentucky 40299
                                      Telephone: (502) 458-1000
                                      Facsimile: (502) 413-2236
                                      Email: caroline.clay@isaacsandisaacs.com


 3.   Are there other party members? N0.

 4.   Case type requested:          Civil Tort (CT)
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 10 of 31 PageID #: 22



   .   Accept:        (a)   Fax Service:                   N0.
                      (b)   Courthouse Mailbox:            No.

   .   Does   this case involve     support issues?        N0.

   .   Are there     related cases?    N0.

   .   Has   this   form been served 0n      all   other parties With certiﬁcate 0f service attached?


   .   Additional Information:         None.




                                                                 /s/   Caroline B. Clay
                                                                 Caroline B. Clay, # 35002-22
                                                                 Isaacs   & Isaacs, P.S.C.
                                                                 1601 Business Center Court
                                                                 Louisville,   Kentucky 40299
                                                                 Telephone: (502) 458-1000
                                                                 Facsimile: (502) 454-55 12
                                                                 Email: caroline.clay@isaacsandisaacs.com
                                                                 Counselfor Plaintiffs
                            03C01-1904-CT-002268                         Filed: 4/22/2019 1:25 PM
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 11 of 31 PageID  #: 23           Clerk
                                         Bartholomew Circuit Court                     Bartholomew County, Indiana




               IN THE _______________ COURT FOR BARTHOLOMEW COUNTY
                                   STATE OF INDIANA


  LENDON THOMAS                                  )
                                                 )
                 Plaintiff,                      )
                                                 )                    03C01-1904-CT-002268
          v.                                     )     CAUSE NO:                         ___
                                                 )                   *ELECTRONICALLY FILED*
  MARY L. SANDERSON                              )
  1385 Finnis Murphree Road                      )
  Blountsville, AL 35031                         )


  -and-                                                     )
                                                             )
  WILEY SANDERS TRUCK LINES, INC.                           )
  3105 Pebble Hill Court                                    )
  Sellersburg, IN 47172                                     )
                                                            )
  Registered Agent:     Highest Officer Found               )
                        Wiley Sanders Truck Line Lines, Inc.)
                        3105 Pebble Hill Court              )
                        Sellersburg, IN 47172               )
          Defendants..                                      )


                        APPEARANCE BY ATTORNEY IN CIVIL CASE

  1. Initiating Party: Edsel Ballard and Dawn Ballard

  2. Attorney Information:
                                    Scott A. Weathers, #11355-49
                                    Isaacs & Isaacs, P.S.C.
                                    1601 Business Center Court
                                    Louisville, Kentucky 40299
                                    Telephone: (502) 458-1000
                                    Facsimile: (502) 413-2236
                                    Email: scott.weathers@isaacsandisaacs.com

  3. Are there other party members? No.

  4. Case type requested:       Civil Tort (CT)

  5. Accept:     (a) Fax Service:                No.
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 12 of 31 PageID #: 24



                 (b) Courthouse Mailbox:       No.

  6. Does this case involve support issues?    No.

  7. Are there related cases? No.

  8. Has this form been served on all other parties with certificate of service attached?   No.

  9. Additional Information: None.



                                                     /s/ Scott A. Weathers           .
                                                     Scott A. Weathers, #11355-49
                                                     Isaacs & Isaacs, P.S.C.
                                                     1601 Business Center Court
                                                     Louisville, Kentucky 40299
                                                     Telephone: (502) 458-1000
                                                     Facsimile: (502) 454-5512
                                                     Email: scott.weathers@isaacsandisaacs.com
                                                     Counsel for Plaintiff




                                                   2
                            03C01-1904-CT-002268                         Filed: 4/22/2019 1:25 PM
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 13 of 31 PageID  #: 25           Clerk
                                          Bartholomew Circuit Court                           Bartholomew County, Indiana




               IN THE _______________ COURT FOR BARTHOLOMEW COUNTY
                                   STATE OF INDIANA


  LENDON THOMAS                                   )
                                                  )
                 Plaintiff,                       )
                                                  )                          03C01-1904-CT-002268
          v.                                      )   CAUSE NO:                                ___
                                                  )                        *ELECTRONICALLY FILED*
  MARY L. SANDERSON                               )
  1385 Finnis Murphree Road                       )
  Blountsville, AL 35031                          )


  -and-                                                               )
                                                                       )
  WILEY SANDERS TRUCK LINES, INC.                                     )
  3105 Pebble Hill Court                                              )
  Sellersburg, IN 47172                                               )
                                                                      )
          Defendants..                                                )


                                               SUMMONS

  THE STATE OF INDIANA TO:               Mary L. Sanderson
  ADDRESS:                               1385 Finnis Murphree Road
                                         Blountsville, AL 35031

          You are hereby notified that you have been sued by the person(s) or entity(ies) named as
  Plaintiff(s) in the court and case number indicated in the above caption.

         The Plaintiff is represented in this action by: Caroline B. Clay, and Scott Weathers, Isaacs
  & Isaacs, P.S.C., 1601 Business Center Court, Louisville, Kentucky 40299, telephone: (502) 458-
  1000.

           The nature of the suit against you is stated in the complaint that is attached to this summons.
  It also states the relief sought or the demand made against you by the plaintiff.

         An answer or other appropriate response in writing to the complaint must be filed either by
  you or your attorney within twenty (20) days, commencing the day after you receive this summons
  (or twenty-three (23) days if this summons was received by mail), or a judgment by default may
  be rendered against you for relief demanded by plaintiff.
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 14 of 31 PageID #: 26



        The following manner of service of Summons is hereby designated:


                                    CERTIFIED MAIL
             4/22/2019
  Dated: ______________________

                                                  ____________________________________
                                                  Bartholomew County Clerk (Seal)




                                              2
                                                                           Filed: 4/22/2019 1:25 PM
                            03C01 -1 904-CT-002268
Case 1:19-cv-02648-JPH-DML Document   3-1 Filed 06/28/19 Page 15 of 31 PageID  #: 27           Clerk
                                                     Bartholomew   Circuit Court                                        Bartholomew County, Indiana




                   IN   THE                            COURT FOR BARTHOLOMEW COUNTY
                                                     STATE OF INDIANA


  LENDON THOMAS                                                )

                                                               )

                        Plaintiff,                             )

                                                               )                        03001 -1 904-CT-002268
            V.                                                 )   CAUSE NO:
                                                               )                       *ELECTRONICALLY FILED*
  MARY L. SANDERSON                                            )
  1385 Finnis Murphree Road                                    )

  Blountsville,     AL     35031                               )




  -and-                                                                            )

                                                                                   )

  WILEY SANDERS TRUCK LINES,                         INC.                          )

  3 105 Pebble Hill        Court                                                   )

  Sellersburg,     IN 47 1 72                                                      )



  wilt:                         Highest Ofﬁcer Found
                                Wiley Sanders Truck Lines,           Inc.
                                                                                   )

                                                                                   )

                                                                                   )
                                3 105 Pebble Hill      Court                       )

                                Sellersburg,    IN 47 1 72                         )
            Defendants.                                                            )




                                                             SUMMONS
  THE STATE OF INDIANA TO:                           Wiley Sanders Truck Lines,          Inc.
  ADDRESS:                                           Highest Ofﬁcer Found
                                                     Wiley Sanders Truck Lines,          Inc.
                                                     3 105 Pebble Hill      Court
                                                     Sellersburg,   IN 47 1 72

            You    are hereby notiﬁed that     you have been sued by the person(s) or                    entity(ies)    named   as
  Plaintiff(s) in the court        and case number indicated in the above caption.

            The                                                             and Scott Weathers, Isaacs
                   Plaintiff is represented in this action by: Caroline B. Clay,
  & Isaacs,      P.S.C., 1601 Business Center Court, Louisville, Kentucky 40299, telephone: (502) 458-
  1000.


            The nature ofthe         suit against   you is   stated in the complaint that       is   attached to this   summons.
  It   also states the relief sought or the         demand made      against   you by the   plaintiff.
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 16 of 31 PageID #: 28




         An answer or other appropriate response in writing to the complaint must be filed either by
  you or your attorney within twenty (20) days, commencing the day after you receive this summons
  (or twenty-three (23) days if this summons was received by mail), or a judgment by default may
  be rendered against you for relief demanded by plaintiff.

         The following manner of service of Summons is hereby designated:


                                        CERTIFIED MAIL
            4/22/2019
  Dated: ______________________

                                                      ____________________________________
                                                      Bartholomew County Clerk (Seal)




                                                  2
                                                                          Filed: 5/10/2019 2:55 PM
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 17 of 31 PageID   #: 29 Circuit Court
                                                                        Bartholomew
                                                                                              Bartholomew County, Indiana




                   IN THE CIRCUIT COURT FOR BARTHOLOMEW COUNTY
                                   STATE OF INDIANA


  LENDON THOMAS                                  )
                                                 )
                 Plaintiff,                      )
                                                 )
          v.                                     )    CAUSE NO: 03C01-1904-CT-002268
                                                 )              *ELECTRONICALLY FILED*
  MARY L. SANDERSON                              )
  1385 Finnis Murphree Road                      )
  Blountsville, AL 35031                         )


  -and-                                                          )
                                                                 )
  WILEY SANDERS TRUCK LINES, INC.                                )
  100 Sanders Road                                               )
  Troy, AL 36079                                                 )
                                                                 )
  Registered Agent:      Highest Officer Found                   )
                         Wiley Sanders Truck Lines, Inc.         )
                         100 Sanders Road                        )
                         Troy, AL 36079                          )
          Defendants..                                           )


                                               SUMMONS

  THE STATE OF INDIANA TO:               Wiley Sanders Truck Lines, Inc.
  ADDRESS:                               Highest Officer Found
                                         Wiley Sanders Truck Lines, Inc.
                                         100 Sanders Road
                                         Troy, AL 36079

          You are hereby notified that you have been sued by the person(s) or entity(ies) named as
  Plaintiff(s) in the court and case number indicated in the above caption.

         The Plaintiff is represented in this action by: Caroline B. Clay, and Scott Weathers, Isaacs
  & Isaacs, P.S.C., 1601 Business Center Court, Louisville, Kentucky 40299, telephone: (502) 458-
  1000.

           The nature of the suit against you is stated in the complaint that is attached to this summons.
  It also states the relief sought or the demand made against you by the plaintiff.
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 18 of 31 PageID #: 30




         An answer or other appropriate response in writing to the complaint must be filed either by
  you or your attorney within twenty (20) days, commencing the day after you receive this summons
  (or twenty-three (23) days if this summons was received by mail), or a judgment by default may
  be rendered against you for relief demanded by plaintiff.

         The following manner of service of Summons is hereby designated:


                                        CERTIFIED MAIL
          5/13/2019
  Dated: ______________________

                                                      ____________________________________
                                                      Bartholomew County Clerk (Seal)




                                                  2
                                                                         Filed: 5/23/2019 11:04 AM
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 19 of 31 PageID   #: 31 Circuit Court
                                                                        Bartholomew
                                                                                       Bartholomew County, Indiana




                   IN THE BARTHOLOMEW COUNTY CIRCUIT COURT

                                     STATE OF INDIANA

  LENDON THOMAS,                               )
                                               )
                       Plaintiff,              )
                                               ) CAUSE NO.: 03C01-1904-CT-002268
        v.                                     )
                                               )
  MARY L. SANDERSON and WILEY                  )
  SANDERS TRUCK LINES, INC.,                   )
                                               )
                       Defendants.             )



               E-FILING APPEARANCE BY ATTORNEY IN CIVIL CASE

  Party Classification: Initiating ____ Responding X       Intervening ____

  1.    The undersigned attorney and all attorneys listed on this form now appear in this case for
        the following party member(s):

  WILEY SANDERS TRUCK LINES, INC.

  2.    Applicable attorney information for service as required by Trial Rule 5(B)(2) and for case
        information as required by Trial Rules 3.1 and 77(B) is as follows:

        Robert R. Foos, Jr.                                 Attorney No. 20885-45
        LEWIS WAGNER, LLP                                   Phone: (317) 237-0500
        501 Indiana Avenue, Suite 200                       Fax: (317) 630-2790
        Indianapolis, IN 46202rfoos@lewiswagner.com


        IMPORTANT: Each attorney specified on this appearance:
        (a)  certifies that the contact information listed for him/her on the Indiana Supreme
             Court Roll of Attorneys is current and accurate as of the date of this
             Appearance;
        (b)  acknowledges that all orders, opinions, and notices from the court in this
             matter that are served under Trial Rule 86(G) will be sent to the attorney at
             the email address(es) specified by the attorney on the Roll of Attorneys
             regardless of the contact information listed above for the attorney; and
        (c)  understands that he/she is solely responsible for keeping his/her Roll of
             Attorneys contact information current and accurate, see Ind. Admis. Disc. R.
             2(A).
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 20 of 31 PageID #: 32



       Attorneys can review and update their Roll of Attorneys contact information on the
       Courts Portal at http://portal.courts.in.gov.

  3.   There are other party members: Yes ____ No       X    (If yes, list on continuation page.)

  4.   If first initiating party filing this case, the Clerk is requested to assign the case the
       following Case Type under Administrative Rule 8(b)(3):       N/A

  5.   This case involves support issues. Yes ____ No X             (If yes, supply social security
       numbers for all family members on continuation page.)

  6.   There are related cases. Yes ____ No X       (If yes, list on continuation page.)

  7.   This form has been served on all other parties. Certificate of Service is attached.
       Yes X      No ____

  8.   Additional information required by local rule:____________________________



                                             LEWIS WAGNER, LLP



                                             By:     /s/Robert R. Foos, Jr.
                                                     ROBERT R. FOOS, JR., #20885-45
                                                     Counsel for Defendant
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 21 of 31 PageID #: 33



                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 23, 2019, a copy of the foregoing was served on the
  following parties electronically by using the Court’s IEFS System and U.S. Postal Service, pre-
  paid delivery for those parties not yet registered:


  Scott A. Weathers
  Caroline Clay
  ISAACS & ISAACS, P.S.C.
  1601 Business Center Court
  Louisville, KY 40299
  scott.weathers@isaacsandisaacs.com
  Counsel for Plaintiff

                                              By: /s/ Robert R. Foos, Jr.
                                                 ROBERT R. FOOS, JR.

  LEWIS WAGNER, LLP
  Suite 200
  501 Indiana Avenue
  Indianapolis, IN 46202
  Telephone:     317-237-0500
  Facsimile:     317-630-2790
  rfoos@lewiswagner.com
                                                                         Filed: 5/23/2019 11:04 AM
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 22 of 31 PageID   #: 34 Circuit Court
                                                                        Bartholomew
                                                                                        Bartholomew County, Indiana




                     IN THE BARTHOLOMEW COUNTY CIRCUIT COURT

                                       STATE OF INDIANA

  LENDON THOMAS,                                )
                                                )
                        Plaintiff,              )
                                                ) CAUSE NO.: 03C01-1904-CT-002268
         v.                                     )
                                                )
  MARY L. SANDERSON and WILEY                   )
  SANDERS TRUCK LINES, INC.,                    )
                                                )
                        Defendants.             )


                                         JURY DEMAND

          Defendant WILEY SANDERS TRUCK LINES, INC., by counsel, pursuant to Trial Rule
  38(B) of the Indiana Rules of Trial Procedure, respectfully requests that this cause of action be
  tried by a jury.



                                              LEWIS WAGNER, LLP



                                              By:     /s/Robert R. Foos, Jr.
                                                      ROBERT R. FOOS, JR., #20885-45
                                                      Counsel for Defendant
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 23 of 31 PageID #: 35



                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 23, 2019, a copy of the foregoing was served on the
  following parties electronically by using the Court’s IEFS System and U.S. Postal Service, pre-
  paid delivery for those parties not yet registered:


  Scott A. Weathers
  Caroline Clay
  ISAACS & ISAACS, P.S.C.
  1601 Business Center Court
  Louisville, KY 40299
  scott.weathers@isaacsandisaacs.com
  Counsel for Plaintiff

                                              By: /s/ Robert R. Foos, Jr.
                                                 ROBERT R. FOOS, JR.

  LEWIS WAGNER, LLP
  Suite 200
  501 Indiana Avenue
  Indianapolis, IN 46202
  Telephone:     317-237-0500
  Facsimile:     317-630-2790
  rfoos@lewiswagner.com
                                                                         Filed: 5/23/2019 11:04 AM
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 24 of 31 PageID   #: 36 Circuit Court
                                                                        Bartholomew
                                                                                           Bartholomew County, Indiana




                          IN THE BARTHOLOMEW COUNTY CIRCUIT COURT

                                             STATE OF INDIANA

  LENDON THOMAS,                                    )
                                                    )
                               Plaintiff,           )
                                                    ) CAUSE NO.: 03C01-1904-CT-002268
           v.                                       )
                                                    )
  MARY L. SANDERSON and WILEY                       )
  SANDERS TRUCK LINES, INC.,                        )
                                                    )
                               Defendants.          )



                          DEFENDANT’S MOTION FOR ENLARGEMENT OF
                              TIME TO FILE RESPONSIVE PLEADING

           Defendant WILEY SANDERS TRUCK LINES, INC., by counsel, moves the Court for

  an enlargement of time of thirty (30) days in which to answer or otherwise respond to Plaintiff’s

  Complaint for Damages, and/or any discovery including Request for Admissions that may have

  been filed with the Summons and Complaint, up to and including July 8, 2019 and in support

  thereof would show the Court as follows:

           1.         That a responsive pleading is due on or about June 8, 2019 and said time has not

           expired.

           2.        No prior enlargements of time have been requested.

           3.        Undersigned counsel has only recently been retained and said additional time is

  necessary to enable counsel to confer with their client to review the facts and prepare an

  appropriate response.

           WHEREFORE, Defendant WILEY SANDERS TRUCK LINES, INC., by counsel, prays

  for an additional thirty (30) days in which to answer or otherwise respond to Plaintiff’s




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Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 25 of 31 PageID #: 37



  Complaint for Damages, and/or any discovery including Request for Admissions that may have

  been filed with the Summons and Complaint, through and including July 8, 2019, and for all

  other just and proper relief in the premises.



                                                  LEWIS WAGNER, LLP



                                                  By:    /s/Robert R. Foos, Jr.
                                                         ROBERT R. FOOS, JR., #20885-45
                                                         Counsel for Defendant


                                   CERTIFICATE OF SERVICE

         I hereby certify that on May 23, 2019, a copy of the foregoing was served on the
  following parties electronically by using the Court’s IEFS System and U.S. Postal Service, pre-
  paid delivery for those parties not yet registered:


  Scott A. Weathers
  Caroline Clay
  ISAACS & ISAACS, P.S.C.
  1601 Business Center Court
  Louisville, KY 40299
  scott.weathers@isaacsandisaacs.com
  Counsel for Plaintiff

                                                  By: /s/ Robert R. Foos, Jr.
                                                     ROBERT R. FOOS, JR.

  LEWIS WAGNER, LLP
  Suite 200
  501 Indiana Avenue
  Indianapolis, IN 46202
  Telephone:     317-237-0500
  Facsimile:     317-630-2790
  rfoos@lewiswagner.com




  {0020323/0001/01910930 v1}
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 26 of 31 PageID #: 38



                            IN   THE BARTHOLOMEW COUNTY CIRCUIT COURT

                                                     STATE OF INDIANA

  LENDON THOMAS,                                                )

                                                                )

                                 Plaintiff,                     )

                                                                )    CAUSE NO.:         03C01-1904-CT-002268
            V.                                                  )

                                                                )

  MARY L. SANDERSON                   and     WILEY             )

  SANDERS TRUCK LINES, INC,                                     )

                                                                )

                                 Defendants.                    )




            Defendant      WILEY SANDERS TRUCK LINES,
                                                           m                  INC., by counsel, ﬁles herein   its   Motion

  for   Enlargement of Time in which             t0   respond       t0 Plaintiff’s   Complaint for Damages and/or any


  discovery including Request for Admissions that                       may have been     ﬁled with the    Summons and

  Complaint.


            And the     Court being duly advised,        now    grants said Motion.


            IT IS     THEREFORE ORDERED, ADJUDGED AND DECREED                                   that   Defendant    WILEY

  SANDERS TRUCK LINES,                   INC.   is   granted a period of time through and including July            8,   2019

  in    which    t0   answer 0r otherwise respond           t0 Plaintiff’s       Complaint for Damages and/or any


  discovery including Request for Admissions that                       may have been     ﬁled with the    Summons and

  Complaint.




  Dated: May 23, 2019
                                                            JUDGE,         BARTHOLOMEW COUNTY CIRCUIT
  COURT




  {0020323/0001/019 1 0930 V1}
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 27 of 31 PageID #: 39




  Distribution:




  Robert R. Foos,       Jr.                 Scott A. Weathers
  LEWIS WAGNER, LLP                         Caroline Clay
  Suite   200                               ISAACS   & ISAACS, P.S.C.
  501 Indiana Avenue                        1601 Business Center Court
  Indianapolis,     IN 46202                Louisville,   KY   40299
                                            scott.weathers@isaacsandisaacs.com


                                            Counselfor Plaintiff




  {0020323/0001/019 1 0930 V1}
                                                                          Filed: 5/26/2019 8:21 AM
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 28 of 31 PageID   #: 40
                                                                        Bartholomew Circuit Court
                                                                                                         Bartholomew County, Indiana




                    IN     THE CIRCUIT COURT FOR BARTHOLOMEW COUNTY
                                        STATE OF INDIANA


  LENDON THOMAS                                         )

                                                        )

                   Plaintiff,                           )

                                                        )
           V.                                           )   CAUSE NO:                 03C01-1904-CT-002268
                                                        )                             *ELECTRONICALLY FILED*
  MARY L. SANDERSON                                     )
  1385 Finnis Murphree Road                             )

  Blountsville,   AL   35031                            )




  -and-                                                                   v



  WILEY SANDERS TRUCK LINES,                    INC.
  3 105 Pebble Hill    Court
  Sellersburg,   IN 47 1 72

  Registered Agent:           Highest Ofﬁcer Found                        VVVVVVVVV




                              Wiley Sanders Truck Line Lines,      Inc.
                              3 105 Pebble Hill   Court
                              Sellersburg,   IN 47 1 72
           Defendants..




                                                    AMENDED
                            APPEARANCE BY ATTORNEY IN CIVIL CASE

  1.   Initiating Party:   Lendon Thomas

  2.   Attorney Information:
                                       Scott A. Weathers, #1 1355-49
                                       Isaacs   & Isaacs, P.S.C.
                                       1601 Business Center Court
                                       Louisville,     Kentucky 40299
                                       Telephone: (502) 458-1000
                                       Facsimile: (502) 413-2236
                                       Email: scott.weathers@isaacsandisaacs.com


  3.   Are there other party members? N0.

  4.   Case type requested:          Civil Tort (CT)
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 29 of 31 PageID #: 41



   .   Accept:        (a)   Fax Service:                   No.
                      (b)   Courthouse Mailbox:            No.

   .   Does   this case involve support issues?            No.

   .   Are there     related cases?    No.

   .   Has   this   form been served 0n      all   other parties with certiﬁcate 0f service attached?   N0.

   .   Additional Information:         None.




                                                                 /s/ Scott A.   Weathers
                                                                 Scott A. Weathers, #1 1355-49
                                                                 Isaacs   & Isaacs, P.S.C.
                                                                 1601 Business Center Court
                                                                 Louisville,    Kentucky 40299
                                                                 Telephone: (502) 458-1000
                                                                 Facsimile: (502) 454-55 12
                                                                 Email: scottweathers@isaacsandisaacs.com
                                                                 Counselfor Plaintiﬁ‘
                                                                         Filed: 5/28/2019 12:43 PM
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 30 of 31 PageID    #: 42
                                                                        Bartholomew Circuit Court
                                                                                                         Bartholomew County, Indiana




                    IN     THE CIRCUIT COURT FOR BARTHOLOMEW COUNTY
                                        STATE OF INDIANA


  LENDON THOMAS                                        )

                                                       )

                   Plaintiff,                          )

                                                       )
           V.                                          )   CAUSE NO:                  03C01-1904-CT-002268
                                                       )                              *ELECTRONICALLY FILED*
  MARY L. SANDERSON                                    )
  1385 Finnis Murphree Road                            )

  Blountsville,   AL   35031                           )




  -and-                                                                   v



  WILEY SANDERS TRUCK LINES,                    INC.
  3 105 Pebble Hill    Court
  Sellersburg,   IN 47 1 72

  Registered Agent:           Highest Ofﬁcer Found                        VVVVVVVVV




                              Wiley Sanders Truck Line Lines,      Inc.
                              3 105 Pebble Hill   Court
                              Sellersburg,   IN 47 1 72
           Defendants..




                                         AMENDED
                            APPEARANCE BY ATTORNEY IN CIVIL CASE

  1.   Initiating Party:   Lendon Thomas

  2.   Attorney Information:
                                       Caroline B. Clay, # 35002-22
                                       Isaacs   & Isaacs, P.S.C.
                                       1601 Business Center Court
                                       Louisville,Kentucky 40299
                                       Telephone: (502) 458-1000
                                       Facsimile: (502) 413-2236
                                       Email: caroline.clay@isaacsandisaacs.com


  3.   Are there other party members? No.

  4.   Case type requested:          Civil Tort (CT)
Case 1:19-cv-02648-JPH-DML Document 3-1 Filed 06/28/19 Page 31 of 31 PageID #: 43



   .   Accept:        (a)   Fax Service:                   No.
                      (b)   Courthouse Mailbox:            No.

   .   Does   this case involve support issues?            No.

   .   Are there     related cases?    No.

   .   Has   this   form been served 0n      all   other parties with certiﬁcate 0f service attached?   N0.

   .   Additional Information:         None.




                                                                 /s/ Caroline B.Clay
                                                                 Caroline B. Clay, # 35002-22
                                                                 Isaacs   & Isaacs, P.S.C.
                                                                 1601 Business Center Court
                                                                 Louisville,   Kentucky 40299
                                                                 Telephone: (502) 458-1000
                                                                 Facsimile: (502) 454-55 12
                                                                 Email: caroline.clay@isaacsandisaacs.com
                                                                 Counselfor Plaintiffs
